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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                                      CASE NO.: 1:05cr31-SPM

TAMIR MORGAN BUTLER, et al.,

           Defendants.
______________________________/

              ORDER GRANTING MOTION TO CONTINUE TRIAL

       This cause comes before the Court on the unopposed motion to continue

trial (doc. 55) filed by Defendant Tamir Morgan Butler. By separate order (doc.

57), trial has already been continued to November 14, 2005. Butler’s motion,

however, provides additional grounds for the continuance. The ends of justice

served by granting the continuance outweigh the best interests of the public and

the defendants in a speedy trial. Accordingly, it is

       ORDERED AND ADJUDGED:

       1.     The motion to continue trial (docs. 55) is granted.

       2.     Trial is continued, as provided by separate order (doc. 57), to

November 14, 2005 at 8:30 a.m. in Gainesville, Florida.

       DONE AND ORDERED this 7th day of October, 2005.


                                     s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
